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                           USA v. Google (20-cv-3010)
               New York Times’ Motion to Unseal Ruling Script
Before the court is a Motion for Access to Judicial Records filed by Intervenor The
New York Times Company, which seeks more fulsome public release of 29 trial
exhibits in this matter. The Times argues that disclosure of these records is
warranted under the six-factor test set forth by the D.C. Circuit in United States v.
Hubbard. It contends that the records carry a strong presumption of access and that
many of them contain information that is dated or has been revealed elsewhere,
diminishing any privacy interests or prejudice that would result from disclosure.
The court will begin by summarizing the process that it ordered with respect to the
disclosure of trial exhibits; then articulate the legal principles that govern this
motion; and conclude with its analysis of the disputed records.
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                                    Background
The court has entered numerous orders regarding the confidentiality of trial
evidence.
                                       Pretrial
On August 15, 2023, prior to trial, the court entered the parties’ Stipulated Order on
the Use of Confidential Information at Trial. ECF No. 647. That order, among other
things, directed the parties to “endeavor to prepare their presentations and
examinations to maximize keeping the courtroom open.” Id. at 2. The court also
directed the parties to attempt to resolve any confidentiality disputes within 48 hours
or otherwise bring them before the court.
On August 28, 2023, the court entered a pretrial order clarifying that “[u]ltimately,
the ‘record’ that will be the focus of the court’s decision-making will be the trial
testimony, exhibits, and deposition designations cited in the parties’ proposed
findings of fact and conclusions of law[.]” ECF No. 666, at 2.
On September 4, 2023, and pursuant to the pretrial conference held on September 1,
2023, the court ordered the parties to meet and confer to resolve outstanding disputes
as to the confidentiality of exhibits to be used in the Plaintiffs’ case. ECF No. 682,
at 1–2.
The purpose of these orders was (1) to minimize the need for closed trial testimony
to discuss confidential matters and (2) to promote efficient preparation and
presentation of trial evidence, including identifying and promptly resolving disputes
over confidentiality designations.
                                        Trial
Trial began on September 12, 2023. On October 25, 2023, the court issued an order
directing Google to disclose to Plaintiffs any exhibit in its case-in-chief that it
believed contained confidential information 48 hours in advance of the exhibit’s
presentation. ECF No. 748. This, too, was also an effort to resolve any potential
confidentiality disputes.
Four weeks into trial, on October 16, 2023, the Times sought intervention to increase
public access to the trial exhibits and testimony. See Mot. to Intervene & for Access
to Judicial Records, ECF No. 731. The court granted in part and denied in part the
relief requested, and entered a Supplemental Order. See ECF No. 750. That order
created a process for the press to request and receive trial records, including those

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containing Google and third-party confidential information, which were subject to
redactions. See id.
                                      Post-Trial
Following trial, the Times filed the instant motion to unseal additional trial exhibits
that it had not received pursuant to the aforementioned process. See ECF No. 800.
The parties and non-parties whose information was implicated in these records filed
responses stating their positions. See ECF Nos. 808 (Plaintiffs), 812 (Apple), 813
(Google), 814 (Microsoft).
Around the same time, the parties set forth their positions as to a process for posting
public, redacted versions of their voluminous post-trial filings. See Hr’g Tr., ECF
No. 832, at 30–33; Order, ECF No. 831 (setting forth schedule for addressing
disputes in opening post-trial filings).
On March 11, 2024, the court convened the parties, nonparties, and the Times to
discuss both the Times’ motion and the redactions to post-trial filings. See generally
Hr’g Tr., ECF No. 846.
After hearing from all interested parties, the court instituted an expedited process to
resolve confidentiality disputes related to both the post-trial filings and the exhibits
requested by the Times, so that those issues could be decided before closing
arguments. See ECF No. 850. That process required Google and third parties to
meet and confer with the Times regarding the scope and justification for proposed
redactions to the requested records. Id. at 3. The Times, parties, and relevant third
parties then submitted updated position statements regarding the outstanding
disputes to the court. See ECF Nos. 880 (Times), 870 (States), 874 (Google), 878
(USA), 869 (Motorola), 871 (Samsung), 872 (Amazon), 875-2 (Apple), 877
(AT&T), 881 (Microsoft).
As to the parties’ post-trial submissions, the court ordered the parties to file “first-
cuts” of the redacted versions within a week of their sealed submissions. Those
redacted versions have all been posted to the public docket. See ECF Nos. 833–842,
861–866. The parties and third parties were ordered to meet and confer to narrow
those redactions and submit their outstanding disputes to the court. See (Sealed)
ECF Nos. 874-1 & 878-1 (summarizing disputes).
Google and several third parties also submitted declarations attesting to the rationale
for withholding the claimed confidential information.


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The court has exhaustively reviewed all of these filings and has conducted a page-
by-page and, in some cases, line-by-line review of every disputed exhibit sought by
the Times, as well as the disputed redactions in each post-trial filing. Where
necessary, the court has also carefully compared the redacted versions to the sealed,
unredacted records and filings.
                                  Legal Standard
“[C]ourts of this country recognize a general right to inspect and copy public records
and documents, including judicial records and documents.” Nixon v. Warner
Commc’ns, Inc., 435 U.S. 589, 597 (1978) (footnote omitted). Judicial records carry
“a strong presumption in favor of public access[.]” In re Leopold to Unseal Certain
Elec. Surveillance Applications & Ords., 964 F.3d 1121, 1127 (D.C. Cir. 2020)
(internal quotation marks omitted). A party seeking to seal such records bears the
burden to demonstrate sealing is warranted. See Guttenberg v. Emery, 26 F. Supp.
3d 88, 96 (D.D.C. 2014).
But “not all documents filed with courts are judicial records,” and even if they are,
“the right to inspect and copy judicial records is not absolute.” SEC v. Am. Int’l
Grp., 712 F.3d 1, 3 (D.C. Cir. 2013); Nixon, 435 U.S. at 598. This Circuit takes a
“functional approach to judicial records.” In re Application for Access to Certain
Sealed Video Exhibits, 546 F. Supp. 3d 1, 6 (D.D.C. 2021).
Whether a document is a “judicial record” depends on “the role the document plays
in the adjudicatory process.” United States v. El-Sayegh, 131 F.3d 158, 163 (D.C.
Cir. 1997). “Something ‘intended to influence’ a court’s pending decision—such as
a party’s brief—is most likely a judicial record, while a document would not qualify
if it is one that the court ‘made no decisions’ about and did not ‘otherwise rel[y].’”
In re New York Times, 2021 WL 5769444 (JEB), *3 (D.D.C. 2021) (citations
omitted).
The Times has taken the position that a trial exhibit, if offered and admitted in its
entirety, qualifies as a “judicial record” subject to the presumption of public access.
The D.C. Circuit has not resolved this question. But I will restate, as I have said
before, that I disagree with the Times’ position and, based on the Circuit’s
“functional approach,” do not think that the entirety of a trial exhibit is a “judicial
record” merely because such exhibit was presented in its entirety for admission into
evidence.




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That view is certainly consistent with how the court directed the parties to prepare
for trial and confer with third parties as it relates to confidential information. The
court has said throughout that the evidentiary record in this case would be the
testimony plus those parts of an exhibit actually presented to the court during trial.
That approach was meant to relieve the parties and third parties of the burden of
either heavily redacting or excising pages of irrelevant material before submitted
them into evidence. The court therefore directed the parties and third parties to focus
their confidentiality reviews on those portions of exhibits that would be presented
through witnesses during trial. It was those portions that were meant to influence
the court’s decision-making; not the remaining portions of an exhibit.
As a much-contested example, the entirety of the challenged contracts in this case
were admitted into evidence. The Times argues that because these agreements are
at the heart of Plaintiffs’ allegation of anticompetitive conduct, the entirety of the
agreements—regardless of relevance—should be made public. The court does not
concur with that view. It is those contractual provisions that are relevant to
allegations and defenses that constitute judicial records, and it is those provisions
that receive the presumption in favor of public access.
In any event, the court’s review has not rested merely on that understanding of
Circuit precent and its view of what constitutes a “judicial record.” Rather, the court
has done a document-by-document analysis of each of the disputed agreements and
emails under the D.C. Circuit’s Hubbard test. Hubbard sets forth a six-factor test
that courts must use to evaluate whether the presumption in favor of access is
“outweighed by competing interests.” Leopold, 964 F.3d at 1127 (citing 650 F.3d
293 (D.C. Cir. 1980)).
Those factors are: (1) the need for public access, (2) the extent of prior public access,
(3) any objections to disclosure and identity of the objector, (4) relevant property or
privacy interests, (5) prejudice to objectors from disclosure, and (6) the record’s
purpose in the overall proceedings. Hubbard, 650 F.3d at 317–33.
The first and sixth factors overlap here, and generally speaking, counsel in favor of
disclosure. The need for public access “is at its apex when the government is a party
to the litigation. Indeed, the public has a strong interest in monitoring not only
functions of the courts but also the positions that its elected officials and government
agencies take in litigation.” Doe v. Pub. Citizen, 749 F.3d 246, 271 (4th Cir. 2014).
What’s more, public access is all the more important the closer the proceedings
advance to a decision, given the increased likelihood that “the documents at issue


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will be specifically referred to in the trial judge’s public decision.” E.E.O.C. v. Nat’l
Children’s Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (cleaned up).
That said, in undertaking the Hubbard balancing the court has not treated all parts
of an agreement or email the same. Portions of records that were presented to the
court at trial or are cited in the parties’ post-trial filings have been given greater
weight in favor of disclosure. On the other hand, portions that were not presented at
trial and were either not cited (or of marginal relevance to the claims and defenses)
have been given less weight because those portions either were not presented to
assist the court in deciding this matter or are unlikely to be reflected in the court’s
final decision. There is little or need for public access to such portions because they
have little, if any, adjudicatory purpose or contain information that will not shed
light on the proceedings.
As to the second Hubbard factor, what is left in dispute are those portions of
agreements or emails that have not already been made public. I will note that some
portions of the agreements were disclosed in the Epic v. Google case, and those
portions have been released already.
As to the third factor, the objectors are either Google or a third party with an interest
in the record. When a disputed portion of a record was purely that of a third party—
for example, an internal Apple or Microsoft email—that fact, consistent with Circuit
precedent, weighed against public disclosure in the court’s evaluation, except when
the communication was dated. The same is true for records concerning
communications between third parties. Greater weight was given to public access if
the disputed portion of the record was purely a Google record or an agreement
between Google and a third party.
Factors four and five, the privacy and property interests, as well as prejudice from
disclosure, will be addressed on a document-by-document basis. In weighing these
factors, the court has reviewed and considered each of the declarations submitted by
Google and third parties to justify their confidentiality interests.




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                                      Rulings
The Times’ motion seeks access to three categories of trial exhibits. First, the Times
aims to unseal the entirety of multiple allegedly anticompetitive contracts between
Google and a number of third parties, including Apple, Samsung, AT&T, and
Motorola. Second, it requests full access to certain records produced by third party
Microsoft, including emails and contracts to which it is a party. Third, the Times
seeks several records produced by Apple, all of which are email threads involving
Apple executives. The court discusses each category of documents in turn.
                                     Contracts
   1. Joint Exhibit 24 (JX24) is the Joint Cooperation Agreement between Apple
      and Google, dated 2014.
      • The percentage figure and the number of years in paragraph 4 of Section 1
        shall remain redacted. They constitute bespoke contract terms that, if
        disclosed, could disadvantage Google in negotiations with other partners.
      • The Default Bookmark provision on pages 1–2 must be disclosed. The
        provision would further public understanding as to the search access points
        on Apple devices for which Google pays revenue share, which is core to
        the Plaintiff’s case. The court discerns no substantial competitive
        disadvantage to Google or Apple from disclosure of this provision, at least
        when weighed against the interest in public access.
      • Sections 2–4, with the exception of the first sentence of Section 2, shall
        remain redacted. The need for public access is minimal because the
        provisions have nothing to do with the issues in dispute here, and those
        provisions have not been submitted by the parties for the purposes of
        influencing the court. The first sentence in Section 2 should be disclosed,
        because it has relevance to understanding the nature of the Apple-Google
        relationship and collaboration.
   2. Joint Exhibit 33 (JX33) is the 2016 Apple-Google ISA. At the outset, the
      Times’s characterization of what Judge Donato released in the Epic litigation
      left the court with the impression that all of the contract was released, but
      Judge Donato clearly approached the task of public disclosure with a scalpel,
      as much of the agreement remains nonpublic.




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• Sections 1(b), 1(c), and 8 should be disclosed. These are the terms that
  Google has required of Apple to, according to Plaintiffs, maintain its
  monopoly on search. The parties’ rationale that their future negotiations
  would be harmed by disclosure is weaker here in comparison to the strong
  public interest. The “substantially similar” clause is not only central to the
  government’s case, but also was discussed at trial.
• Sections 1(d) and 1(e): These provisions should remain redacted. They are
  not relevant to the challenged conduct here and have not been put before
  the court.
• Section 2 should be unredacted. This “right of first refusal” provision is a
  core term that goes to the heart of the government’s theory as to how the
  alleged conduct is inhibiting competition in the relevant markets.
• Sections 3 and 4: These provisions should remain redacted. They contain
  bespoke terms, the content of which is clearly harmful to the parties’ future
  negotiating positions, and which have not been previously disclosed in any
  form. These sections also contain revenue share percentages and
  information that would essentially act as a “roadmap” to competitors, in
  the words of Google’s declarant.
• Section 5 should be disclosed. Although this detail may not have been
  disclosed at trial, the incremental information revealed through disclosure
  will not create sufficient harm to warrant sealing. The court notes that
  Apple has not objected to the disclosure of termination dates for this
  agreement, diminishing the weight of the third factor.
• Sections 6 and 10–14 should be redacted. These terms are not relevant.
• The first paragraph of Section 9 should be unredacted, because it provides
  information that may help the public understand Apple and Google’s
  relationship and positions taken in this litigation. The rest of Section 9
  should be redacted as irrelevant.
• Section 7: The first paragraph of this section should remain redacted, as it
  contains information that concerns international markets not at issue in this
  case. So too should roman numeral (ii) in the fifth paragraph, until “in
  those jurisdictions,” for the same reason. The rest of Section 7 should be
  unredacted.


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3. Joint Exhibit 71 (JX71) is the 2020 Samsung-Google RSA.
  • As a threshold matter, before releasing this exhibit, the parties shall
    identify the defined terms in this exhibit (JX71) and in Joint Exhibits 91
    and 99 (JX91 & JX99) that are used in the portions of the agreements that
    the court is ordering be made public. The definitions should be unredacted.
  • Section 2.2 shall remain redacted. The court can discern how this level of
    detail would create competitive disadvantage for Google if released.
    Higher-level information of the same kind has been released elsewhere in
    this record.
  • Section 2.3 shall be unredacted in light of Section 6.1, which covers the
    same information and is unredacted.
  • Sections 2.4 and 2.5 shall remain redacted, as they are not relevant to this
    litigation.
  • Section 3.3 shall be unredacted. The default settings required under the
    RSA are the foundation of Plaintiff’s case.
  • Sections 6.2, 7.2, and 9.4 are not relevant, and the latter two deal with
    markets outside the United States.
  • Section 9.3 shall remain redacted, because this provision could clearly
    harm Google’s competitive standing if it were disclosed. If released, this
    provision could create a “roadmap” to Google’s negotiating counterparts
    in future contract discussions.
  • All the redactions on pages 16, 19, and 21–23 can be kept, as they concern
    irrelevant and pro forma contract terms.
  • The same is true with page 17, which can remain fully redacted, except for
    Section 13.1, which concerns the revenue share paid under the contract,
    and should be disclosed. The high-level description of revenue share is
    unlikely to cause any harm to protected interests.
  • Section 14.1 shall be unredacted. It contains termination dates, whose
    disclosure the court deems necessary for the public to understand
    Plaintiffs’ position on the anticompetitive effects of the agreements. The
    court recognizes that there is some prejudice to Google from disclosure of
    the termination date, but not so much as to outweigh the public right of

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      access. The remaining redactions on page 18 may remain as those terms
      are irrelevant.
   • Section 14.5 should be unredacted, because it addresses the parties’
     obligations in the face of regulatory inquiry and action. The court discerns
     no prejudice from its release. The remaining redactions on the page may
     remain as those terms are irrelevant.
   • The tailored redactions in the attachments may remain, as they contain
     revenue share percentages, the disclosure of which could harm Google in
     its RSA negotiations with other third parties.
   • Attachments B-2, D, E, and F all pertain to markets outside of the United
     States and are not relevant.
4. Joint Exhibit 91 (JX91) is the 2021 Google-AT&T RSA. The court reiterates
   that the defined terms used in those portions ordered disclosed also should
   disclosed.
   • Sections 2.5, 3, 4.1, and 4.3–5.3, as well as pages 15, 17–19, and 21–23
     shall remain redacted as irrelevant contract terms.
   • Section 7.2 should be unredacted, as it contains the “alternative search
     service” provision, a key term that, according to Plaintiffs, results in
     anticompetitive effects. The first sentence of Section 9.1(a) should be
     unredacted, as it simply acknowledges the payment of revenue share under
     the contract. The high-level description is unlikely to cause any harm to
     protected interests.
   • In Section 10.5, the line “Neither Party . . . discovery processes with
     respect to this Agreement,” should be unredacted as it relates to the parties’
     obligations in the event of regulatory inquiry and the court discerns no
     prejudice from its release.
   • As to the attachments, the revenue shares redacted in Attachment A are
     current and their disclosure could prejudice Google and AT&T if disclosed
     with respect to negotiations of future revenue sharing agreements; all of
   • Attachment B must be unredacted to allow the public to understand how
     the MADA works in practice.
   • Attachment C may stay redacted as irrelevant.

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      • Attachment D, Section 5 should be unredacted to allow for practical
        understanding of the effects of the MADA/RSA, although the illustrative
        example may be withheld as it would provide a roadmap to the parties’
        competitors.
      • The code names in Attachment E and elsewhere may be redacted, as their
        commercial significance is clear.
   5. Joint Exhibit 99 (JX99): This is the 2020 amendment to the Google-
      Motorola MADA. Again, the defined terms that appear in the portions that
      the court orders unredacted should be unredacted as well.
      • Sections 2.1, 2.3, 2.4, 2.7, and 2.8 should remain redacted, as they contain
        information about a third party and the parties’ obligations under the
        contract that are not relevant to the issues in this litigation. The same is
        true with respect to all of pages 4 and 5.
      • Section 2.13 and the first paragraph of Section 4.9 should be unredacted,
        because terms relating to RSA-eligible devices is central to this litigation.
        The subheadings need not be disclosed because they contain information
        not relevant to this litigation.
                           Microsoft and Apple Records
The court now turns to the Microsoft and Apple records. Those records, with the
exception of two contracts, are all emails. The Times has suggested that the court
has already conveyed its view as to how Hubbard applies to all emails. It has not.
The portion of the prior proceeding that the Times quoted was simply an illustration
of how the Hubbard factors might apply to different types of records. It was never
meant as a ruling that any and all portions of emails must be made public.
The court thus has done a careful review of the information contained in each email,
and applied the Hubbard factors to each record to make its rulings.
   1. DX434: This internal email contains Microsoft’s internal strategy and
      thinking concerning the Apple default. Whatever competitive interests
      Microsoft may have in the email is substantially diminished by its age—
      14 years—and is outweighed by the first and sixth Hubbard factors. It should
      be disclosed.




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2. DX452: This is a third-party document that contains proposed deal terms that
   Microsoft sought to pitch to Apple. Whatever competitive interests Microsoft
   may have in the email is substantially diminished by its age—11 years—and
   is outweighed by the first and sixth Hubbard factors. It should be disclosed.
3. DX454: This decade-old email concerns the potential Bing backfill of Siri’s
   web results. Not only did this deal actually happen, and then terminate, but it
   was discussed in Microsoft CEO Satya Nadella’s testimony. The court cannot
   discern the competitive disadvantage to Microsoft of revealing the beginnings
   of a deal that was effectuated and has concluded. It should be disclosed.
4. DX455 (cover email): This 11-year-old email contains only two redactions.
   The second, on page .002 after “e.g., the” should remain. It contains third
   party confidential information that is not of great relevance to this matter, and
   the competitive interests are easily discernable by the court.
5. DX457: This is a decade-plus old email that contains Microsoft’s internal
   thinking about a potential deal with Apple. As with DX434, this is an internal
   strategy document of a third party. Its age, however, diminishes Microsoft’s
   competitive interests relative to the first and sixth Hubbard factors, as the
   subject matter concerns Microsoft’s ability to compete for the Apple default.
   It should be disclosed.
6. DX472: This document should be disclosed in full. The incremental
   information revealed by lifting these redactions would not harm Microsoft’s
   contemporary competitive interests.
7. DX500 (cover email): This email contains nonpublic information about
   Microsoft’s own finances and projections. These specific numbers are highly
   sensitive and could result in competitive disadvantage to Microsoft if
   disclosed. The two graphics in this record may be redacted.
8. DX524: Similar to DX500, this record contains nonpublic third-party
   information regarding investments and staffing. The graphic and numbers of
   estimated Microsoft teams (specifically “I’m getting XXX per the table
   below,” “e.g. XXX Bing vs. 6800 G” on .001 and “Bing Engg team
   (~XXXX)” on .002) may be redacted. The estimate of 6800 Google personnel
   should be unredacted, as it is a projection not based on any sensitive data. And
   the magnitude estimate in the third paragraph, “5x,” should be disclosed
   because it helps understand the relative investment of the parties, which sheds


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   light on Google’s defense, and the competitive disadvantage to Microsoft
   from disclosure is not evident.
9. DX538: This appears to be a detailed list of Microsoft’s engineering
   initiatives and projects, including staffing and specific programmatic plans
   and outcomes. This is third-party product information that, if disclosed, could
   be leveraged by a competitor to Microsoft’s detriment. Pages 1 and 2 of this
   email are high-level commentary that may be released. The rest should
   remain redacted.
10.DX679: The numbers and figures redacted in this email include proposed and
   estimated revenue shares that might result from a contracting relationship
   between Mozilla and Microsoft. Although they are sensitive, they are
   projections that go to the heart of Microsoft’s ability to compete, which is
   central to this case. This record should be disclosed.
11.DX680: This email is from Microsoft’s CTO, Kevin Scott, and contains his
   thoughts about AI and traditional search. There are sensitive statements in the
   email concerning Microsoft’s business strategies that weigh against
   disclosure. That said, there are statements in the email that the court finds, on
   balance, should be disclosed because they shed light on Google’s defense
   concerning relative investments by Google and Microsoft in search. With
   these interests in mind, Paragraphs 2 (“The thing that’s interesting ….”) and
   3 (“Turns out, …”) in Scott’s email on page .001 should be unredacted. Also,
   in the first full paragraph on .002, the sentence starting with “We have very
   smart ML people . . .” until end of the paragraph should also be unredacted.
12.DX688: This email is basically a performance review for one employee. The
   privacy interests are very strong, and the relevance to this case is minimal, if
   any. It should not be disclosed.
13.DX963: This is an agreement between Apple and Microsoft that is fully
   withheld. Although dated (2010), the fact that it is between two non-parties
   weighs in favor of non-disclosure and releasing the entirety of the agreement
   is not necessary for the public’s understanding. That said, Section 2.5 of the
   agreement should be disclosed, because it was discussed in public testimony
   at trial.
14.PSX761: This is a settlement agreement between Google and Microsoft. Only
   one section of this agreement (Section 6.2) is cited in the parties’ post-trial


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   filings, with respect to the Plaintiff States’ SA360 claims. The Times asserts
   that the parties’ proprietary interests are diminished because there has been
   press coverage of the agreement, but its specific terms have not been publicly
   disclosed. The court will require the parties to release the text of Section 6.2
   only.
15.UPX246 (cover email): This is an eight-year-old email that should be
   disclosed in full. This email contains two bullet points that summarize
   information presented by Microsoft to Apple at a very high level. Any
   competitive disadvantage from its disclosure is minimal.
16.UPX301: This email refers to a potential Microsoft-Samsung collaboration.
   Though it is between two third parties, the mere contemplation of
   collaboration, without more, is not sufficient to present a risk of competitive
   harm if disclosed. The paragraph beginning “Discussion started . . .,”
   however, should be redacted because it could lead to competitive
   disadvantage given its nature. The rest of the record should be disclosed.
17.UPX736: This is a six-year-old Microsoft-internal email summarizing
   conversations with Apple. Mr. Nadella testified about this email in his trial
   testimony, and this goes to the heart of the case: whether Microsoft is able to
   compete with Google for the Apple default. Everything but the last paragraph
   on page 2415 (“We also …”) should be disclosed, because that paragraph
   references nonpublic strategy between two nonparties that also implicates
   product interests.
18.UPX797: This document should remain redacted. It contains descriptions of
   potential collaborations between two nonparties that could create competitive
   disadvantage if disclosed.
19.UPX625: The bullets under the heading “Disruptive search” up to and
   including “revenue opportunity” may be unredacted, as it provides the public
   with an understanding of Apple’s thinking about entering search and
   competing with Google. And given the email’s age, the competitive harm to
   Apple is diminished. The rest of the record pertains to Apple’s product and
   privacy interests and should not be disclosed.
20.UPX626: The last line, “What else would be helpful to discuss how we disrupt
   Google Search?” should be unredacted. The rest should be redacted for the
   same reasons as UPX625.


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   21.UPX618, UPX1123, UPX494, UPX659: These records are narrowly
      redacted, and the redactions are justified. They seal confidential business
      plans and strategies of third parties’ product interests and would reveal
      Apple’s internal strategy if disclosed. None of this information is public and
      it contains code names and other similarly sensitive commercial information.
                                    Conclusion
The parties are hereby directed to disclose the specific portions of the requested
exhibits (including those portions of records that must be re-reviewed) no later than
April 30, 2024.
                                Additional Matters
The confidentiality issues relating to the post-trial filings are addressed in paper
orders that will be filed this afternoon.




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